  Case:15-23704-MER Doc#:336 Filed:07/26/18                                                Entered:07/26/18 14:02:31 Page1 of 5



DEBTOR:              Cascade Integrated Services, LLC.             POST CONFIRMATION QUARTERLY REPORT

CH. 11 CASE NO:     15-23704 - HRT                                 FOR QUARTER ENDED:                                           6/30/2018

SUMMARY OF DISBURSEMENTS MADE DURING QUARTER:

          1   CASH BALANCE, BEGINNING OF QUARTER                                                                         $ 656,536.88
          2   CASH RECEIPTS DURING QUARTER FROM ALL SOURCES                                                              $        -
          3   CASH DISBURSEMENTS DURING QUARTER, INCLUDING PLAN PAYMENTS                                               ( $ 579,566.07 )
          4   CASH BALANCE, END OF QUARTER                                                                               $  76,970.81

SUMMARY OF AMOUNTS DISBURSED UNDER PLAN:
                                                                                                                             Total Pyts.
                                                                           Paid During              Total Paid               Projected
          1 ADMINISTRATIVE EXPENSES                                         Quarter                  to Date                Under Plan
              Plan Trustee Compensation                                $            -           $  51,066.93              $   51,066.93
              Plan Trustee Expense                                     $            -           $      47.00              Undetermined
              Attorney Fees - Trustee                                  $       4,401.00         $  70,560.60              Undetermined
              Attorney Fees - Debtor                                   $            -           $  11,162.50              Undetermined
              Other Professionals                                      $            -           $   7,500.00              Undetermined
              Other Administrative Expenses                            $            -           $     373.30              Undetermined
              TOTAL ADMINISTRATIVE EXPENSES                            $       4,401.00         $ 140,710.33              Undetermined

          2 SECURED CREDITORS                                          $              -         $              -          Undetermined

          3 PRIORITY CREDITORS                                         $       1,841.64         $    291,482.34           Undetermined

          4 UNSECURED CREDITORS                                        $     572,673.43         $    572,673.43           Undetermined

          5 EQUITY SECURITY HOLDERS                                    $              -         $              -          Undetermined

          6 Attach additional sheets as necessary

TOTAL PLAN PAYMENTS                                                    $     578,916.07         $ 1,004,866.10            Undetermined

                                                                                                           Date                 Check No.

QUARTERLY FEE PAID:                                   2017 Q4          $         325.00               4/16/2018                         1106
                                                      2018 Q1          $         325.00               4/16/2018                         1107
                                                      2018 Q2          $       4,875.00               7/25/2018                         1111

PLAN STATUS:                                                                                                                                   Yes   No

          1 Have all payments been made as set forth in the confirmed plan? (If no, attach explanation.)                                       X

          2 Are all post-confirmation obligations current? (If no, attach explanation.)                                                        X

          3 Projected date of application for final decree:                UNKNOWN

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING POST CONFIRMATION QUARTERLY REPORT
IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE AND BELIEF.

                               Attach additional sheets as necessary
                                                                                                                   Reorganized Debtor
                                                                                          By:                       Thomas M. Kim
                                                                                                                    Plan Administrator
                                                                                                                           Title

                                                                             Email & Phone: tkim@r2llc.com               303-865-8460
 Case:15-23704-MER Doc#:336 Filed:07/26/18         Entered:07/26/18 14:02:31 Page2 of 5

15710 W Colfax Ave
Golden CO 80401                  (720)264-5623

                                                      Date 4/30/18            Pag      1
       Cascade Integrated Services LLC                Account Number                5877
       Liquidating Trust                              Enclosures                       3
       1350 17th St Ste 206
       Denver CO 80202-1525




                           C H E C K I N G     A C C O U N T
Basic Checking NonP/Sole                       Number of Enclosures                  3
Account Number                        5877     Statement Dates   4/02/18 thru 4/30/18
Previous Balance                656   6.88     Days in the Statement Period         29
      Deposits                         .00     Average Ledger               656,125.96
    3 Withdrawals                 2,491.64     Average Collected            656,125.96
Service Charge                         .00
Interest Paid                          .00
Ending Balance                  654,045.24

                       --- CHECKS IN NUMBER ORDER ---
Date Check No       Amount Date Check No        Amount Date Check No             Amount
 4/27    1026      1,841.64 4/24     1106*       325.00 4/24   1107               325.00
* Denotes missing or duplicate (re-presented) check number
************* D A I L Y B A L A N C E        I N F O R M A T I O N   ***************
Date          Balance      Date               Balance       Date           Balance
 4/02           656,536.88  4/24                655,886.88   4/27            654,045.24
 Case:15-23704-MER Doc#:336 Filed:07/26/18       Entered:07/26/18 14:02:31 Page3 of 5

15710 W Colfax Ave
Golden CO 80401                  (720)264-5623

                                                    Date 5/31/18           Pag      1
       Cascade Integrated Services LLC              Account Number               5877
       Liquidating Trust                            Enclosures                    102
       1350 17th St Ste 206
       Denver CO 80202-1525




                           C H E C K I N G   A C C O U N T
Basic Checking NonP/Sole                     Number of Enclosures                102
Account Number                        5877   Statement Dates   5/01/18 thru 5/31/18
Previous Balance                654   5.24   Days in the Statement Period         31
      Deposits                         .00   Average Ledger               541,081.23
  103 Withdrawals               500,573.20   Average Collected            541,081.23
Service Charge                         .00
Interest Paid                          .00
Ending Balance                  153,472.04

************************** W I T H D R A W A L S     ****************************
Date      Description                                     Amount
 5/29     CHK CONV    WALLWORK TRUCK CBOC               2,968.57-
          CHECK # 1240
                       --- CHECKS IN NUMBER ORDER ---
Date Check No       Amount Date Check No        Amount Date Check No          Amount
 5/24                 42.35 5/22     1147         19.14 5/24   1174*           298.19
 5/24                 53.34 5/22     1148        507.70 5/22   1175            377.84
 5/24                 53.97 5/23     1149      1,923.70 5/22   1176            498.37
 5/24                105.14 5/23     1150         25.94 5/24   1178*           282.02
 5/03    1108*     1,450.00 5/30     1151        631.11 5/23   1179            717.54
 5/23    1126*       245.95 5/22     1152         78.29 5/31   1181*            17.12
 5/24    1128*       205.67 5/23     1154*        55.42 5/25   1182              8.82
 5/23    1130*        43.93 5/22     1155        137.63 5/24   1183             27.57
 5/22    1131         65.62 5/25     1156        583.93 5/22   1184            221.58
 5/31    1134*        15.64 5/22     1159*     1,759.16 5/22   1185         12,210.92
 5/22    1135         15.00 5/22     1160         36.42 5/25   1188*            84.00
 5/29    1136        314.86 5/22     1161         22.57 5/23   1189            782.18
 5/24    1137         41.49 5/23     1162      8,998.70 5/22   1191*         2,452.72
 5/22    1139*       119.85 5/25     1164*       106.26 5/24   1193*            43.93
 5/23    1140        224.46 5/23     1165      2,823.77 5/22   1194            107.68
 5/23    1142*        81.97 5/29     1166      2,911.35 5/22   1196*           410.18
 5/22    1143        105.46 5/22     1167         22.23 5/23   1198*           238.55
 5/22    1144        635.21 5/25     1170*        35.29 5/22   1199             21.17
 5/22    1145        569.04 5/30     1171        447.90 5/29   1201*           202.91
 5/25    1146         25.25 5/22     1172         32.17 5/23   1202             23.52
* Denotes missing or duplicate (re-presented) check number
 Case:15-23704-MER Doc#:336 Filed:07/26/18     Entered:07/26/18 14:02:31 Page4 of 5


15710 W Colfax Ave
Golden CO 80401                (720)264-5623

                                                  Date 5/31/18              Pag      2
       Cascade Integrated Services LLC            Account Number                  5877
       Liquidating Trust                          Enclosures                       102
       1350 17th St Ste 206
       Denver CO 80202-1525




Basic Checking NonP/Sole                   4435877   (Continued)
                       --- CHECKS IN NUMBER ORDER ---
Date Check No       Amount Date Check No        Amount Date Check No           Amount
 5/23    1203        158.80 5/25     1223*     2,833.98 5/22   1245*            157.52
 5/23    1204      1,122.90 5/23     1225*        22.73 5/25   1246           1,465.80
 5/23    1205        172.28 5/23     1226        269.96 5/25   1247           3,561.26
 5/29    1206         98.60 5/23     1228*     5,524.69 5/22   1248              83.39
 5/22    1208*        90.78 5/23     1229        402.30 5/24   1251*            248.72
 5/24    1209        599.69 5/23     1231*     2,141.96 5/29   1252           7,171.21
 5/29    1210      3,531.44 5/29     1233*       332.47 5/24   1254*          7,543.96
 5/25    1211      3,304.65 5/31     1234        580.21 5/31   1255           6,843.79
 5/22    1214*        70.58 5/24     1235     17,569.74 5/29   1261*         13,752.53
 5/30    1215        851.35 5/24     1237*       376.85 5/25   1265*        358,659.76
 5/22    1217*       687.72 5/22     1239*        60.07 5/30   1270*            659.79
 5/29    1218      1,414.27 5/29     1240   -See above- 5/24   1271              52.49
 5/25    1219         18.07 5/24     1241      4,898.95 5/24   1273*             41.14
 5/30    1220        855.76 5/23     1242      3,366.36
 5/24    1221         26.47 5/23     1243      1,379.95
* Denotes missing or duplicate (re-presented) check number
************* D A I L Y B A L A N C E    I N F O R M A T I O N     ***************
Date          Balance      Date           Balance       Date             Balance
 5/01           654,045.24  5/23            600,271.67   5/29              164,374.71
 5/03           652,595.24  5/24            567,759.99   5/30              160,928.80
 5/22           631,019.23  5/25            197,072.92   5/31              153,472.04
 Case:15-23704-MER Doc#:336 Filed:07/26/18         Entered:07/26/18 14:02:31 Page5 of 5

15710 W Colfax Ave
Golden CO 80401                  (720)264-5623

                                                      Date 6/29/18            Pag      1
       Cascade Integrated Services LLC                Account Number                5877
       Liquidating Trust                              Enclosures                      23
       1350 17th St Ste 206
       Denver CO 80202-1525




                           C H E C K I N G     A C C O U N T
Basic Checking NonP/Sole                       Number of Enclosures                 23
Account Number                         877     Statement Dates   6/01/18 thru 7/01/18
Previous Balance                153    .04     Days in the Statement Period         31
      Deposits                         .00     Average Ledger                87,431.06
   23 Withdrawals                76,501.23     Average Collected             87,431.06
Service Charge                         .00
Interest Paid                          .00
Ending Balance                   76,970.81

                       --- CHECKS IN NUMBER ORDER ---
Date Check No       Amount Date Check No        Amount Date Check No             Amount
 6/29    1109      2,856.00 6/04     1192*         5.55 6/22   1244*               29.11
 6/29    1110         95.00 6/29     1195*     4,562.56 6/04   1253*              146.04
 6/15    1132*        86.63 6/01     1200*       333.13 6/27   1256*            2,157.94
 6/05    1133        569.04 6/04     1207*        44.48 6/01   1266*           19,409.02
 6/01    1163*        19.73 6/05     1212*       665.38 6/01   1267            35,994.92
 6/05    1177*       401.80 6/20     1216*       111.40 6/01   1268             4,996.94
 6/25    1180*       451.77 6/06     1227*       155.00 6/14   1269             2,221.45
 6/04    1186*       306.11 6/07     1232*       882.23
* Denotes missing or duplicate (re-presented) check number
************* D A I L Y B A L A N C E        I N F O R M A T I O N   ***************
Date          Balance      Date               Balance       Date           Balance
 6/01            92,718.30  6/07                 89,542.67   6/22             87,094.08
 6/04            92,216.12  6/14                 87,321.22   6/25             86,642.31
 6/05            90,579.90  6/15                 87,234.59   6/27             84,484.37
 6/06            90,424.90  6/20                 87,123.19   6/29             76,970.81
